Case 2:03-cV-02714-.]DB-tmp Document 64 Filed 08/17/05 Page 1 of 2 Page|D 50

  

rN THE UNITED sTATEs DISTRICT COURT men sr ii ___w o.c.
FoR THE wEsTERN DISTRICT oF TENNESSEE
WESTERN DIvIsIoN 35 AU@ 17 ppg 2= 5\
LOUISE AFFLIS, 100003 0 600LD
gist 05 "'i”'f“iti“t CDURT
Piaincirf, W!DC t z §
v. No. 03_2714-B/P

BAPTIST MEMORIAL HOSPITAL
d/b/a BAPTIST MEMORIAL
HOSPITAL - COLLIERVILLE,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is Defendant’s Emergency Motion for Protective Order Quashing Notice
of Evidentiary Deposition of Karen Wolstein, D.C., Currently Scheduled for Tuesday, August
23, 2005, in Clearwater, Florida filed on August 17, 2005.

This motion is referred to the United States Magistrate Judge for determination. Any
objections to the magistrate judge’s order shall be made Within ten (10) days after service of the
order, setting forth particularly those portions of the order objected to and the reasons for the
objections Failure to timely assign as error a defect in the magistrate judge’s order will
constitute a waiver of that objection. § Rule 72(a), Federal Rules of Civil Procedure.

<1\
IT IS SO ORDERED this / j day of August, 2005.

load

DANIEL BREEN \
s'rATEs DISTRICT JUDGE

This document entered on the docket sheeti comp iarice

with Fio|e 55 and/or 79(3) F~HCP on " O§s w

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 64 in
case 2:03-CV-027l4 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

ESSEE

 

Shannon E. Holbrook

HARRIS SHELTON DUNLAP COBB & RYDER
One Cornmerce Square

Ste. 2700

l\/lemphis7 TN 38103

J ames L. Kirby

HARRIS SHELTON DUNLAP COBB & RYDER
One Cornmerce Square

Ste. 2700

l\/lemphis7 TN 38103

David A. McLaughlin

COCHRAN CHERRY GIVENS SMITH & BOLTON
One Cornmerce Square

Ste. 2600

l\/lemphis7 TN 38103

Elijah Noel

HARRIS SHELTON DUNLAP COBB & RYDER
One Cornmerce Square

Ste. 2700

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

